Case 4:19-cv-13449-SDD-EAS ECF No. 38, PageID.2172 Filed 06/28/21 Page 1 of 6




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 ROBERT AMBROSE, SCOTT
 BARNES, RICHARD CHAPMAN,
 RYAN CIRIGNANO, CHRIS
 FAUSSETT, MILAN GRUJIC, DAVID
 KELLER, JOHN KOBEL, DANIEL
 LAWSON, STEPHEN LUTSK, LORI            Case No.: 4:19-cv-13449
 MAGALLANES, NOAM MEIER,
 ERIC OSTRANDER, ROBERT                 Hon. Stephanie Dawkins Davis
 OVERTURF, and MIKE WORONKO,
 on behalf of themselves and all others
 similarly situated,

             Plaintiffs,

       v.

 GENERAL MOTORS LLC,

             Defendant.


       PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

      Counsel for Plaintiffs in the above-referenced matter write to inform the Court

of a recent ruling in the Eastern District of Michigan regarding General Motors

LLC’s (“GM’s”) motion to dismiss in Bossart, et. al. v. General Motors LLC, No.

2:20-cv-11057-BAF-DRG (E.D. Mich.), which involves multistate allegations

regarding defective wheels (the “Wheel Defect”). The opinion is attached hereto as

Exhibit A.
Case 4:19-cv-13449-SDD-EAS ECF No. 38, PageID.2173 Filed 06/28/21 Page 2 of 6




      On May 19, 2021, the Honorable Bernard A. Friedman granted in part and

denied in part GM’s motion to dismiss plaintiffs’ Amended Complaint in Bossart.

Many of the issues considered and ruled upon by Judge Friedman in Bossart are also

at issue in GM’s pending motion to dismiss.

      First, as it relates to express warranty claims, the Court in Bossart held that

“plaintiffs’ claims should not be dismissed for failure to seek repairs within the

NVLW’s time and milage limits,” in part, because of plaintiffs’ unconscionability

argument. Ex. A at 9-11. The Bossart Court concluded that it was premature to

dismiss a plaintiff’s claim on this basis at the motion to dismiss stage because “the

circumstances surrounding the parties’ contract formation, particularly defendant’s

pre-sale knowledge of the wheel defect, if any, must be fleshed out before the Court

can assess the merits of plaintiffs unconscionability argument…”         Id. At 11.

Plaintiffs have made a similar argument in this case. ECF No. 32, PageID.1560-

1562. The Bossart Court also rejected GM’s argument that plaintiffs failed to

comply with the NVLW’s notice, presentment, and coverage requirements, in part,

because “each named plaintiff allegedly brought the wheel defect to the attention of

a GM dealer and was denied warranty coverage.” Ex. A at 11. Plaintiffs have made

a similar argument in this case. ECF No. 32, PageID.1560, n. 14.

      Second, the Court in Bossart rejected GM’s argument that plaintiffs’ implied

warranty claims should be dismissed because they had failed to allege a persistent



                                         2
Case 4:19-cv-13449-SDD-EAS ECF No. 38, PageID.2174 Filed 06/28/21 Page 3 of 6




defect that rendered the vehicles unmerchantable. Ex. A at 12-13. The Bossart Court

held that the Wheel Defect made the Class Vehicles unmerchantable because it

rendered them unsafe, unfit for their ordinary purpose, and below average

expectations and quality. Id. at 13. Plaintiffs have made a similar argument here.

ECF No. 32, PageID.1562-1565.

      Third, the Bossart Court held that the Florida, Illinois, and New York

plaintiffs’ implied warranty claims should not be dismissed for lack of privity

because they fell within an exception to the privity requirement, such as the third-

party beneficiary exception.1    Ex. A at 13-15. Plaintiffs have made a similar

argument here. ECF No. 32, PageID.1570-1571.

      Fourth, in regard to Plaintiffs’ fraud-based claims, the Bossart Opinion is

instructive for several reasons. As it relates to plaintiffs’ allegations of pre-sale

knowledge, the Bossart Court held that plaintiffs had satisfied Rule 9 through “the

number and nature of the consumer complaints catalogued by plaintiffs, combined

with the general allegations regarding GM’s testing and data gathering processes.”

Ex. A at 21. In this case, Plaintiffs allege GM’s pre-sale knowledge through

customer complaints, internal testing data, a recall for the same defect in earlier

models of the same vehicle, previous recalls for millions of other vehicles for similar


1
 The Bossart Court also rejected GM’s privity arguments as they related to
plaintiffs from Michigan and Ohio, but those states are not currently at issue in this
case.

                                          3
Case 4:19-cv-13449-SDD-EAS ECF No. 38, PageID.2175 Filed 06/28/21 Page 4 of 6




electric power steering parts just prior to the introduction of the Class Vehicles, and

a plethora of orders for replacement parts. ECF No. 32, PageID.1546-1549. As it

related to GM’s consumer protection statute specific challenges, the Bossart Court

held that plaintiffs’ claims would not be dismissed because plaintiffs included “short

and plain statements as to their reliance on defendant’s misrepresentations or

omissions, the causal relationship between this reliance and their injury, and the

propriety of the claims raised.” Ex. A at 21. Plaintiffs have done the same here. ECF

No. 32, PageID.1543-1546. Additionally, the Bossart Court held that “issues such

as reliance, causation, and compliance with limitations periods are inherently fact-

specific and do not lend themselves to resolution on a motion to dismiss.” Ex. A at

22.


Dated: June 28, 2021                    Respectfully submitted,

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                                          4
Case 4:19-cv-13449-SDD-EAS ECF No. 38, PageID.2176 Filed 06/28/21 Page 5 of 6




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                                      5
Case 4:19-cv-13449-SDD-EAS ECF No. 38, PageID.2177 Filed 06/28/21 Page 6 of 6




                          CERTIFICATE OF SERVICE

      I hereby certify that on June 28, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system which will send

notification of such filing to all attorneys of record.

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